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                 IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  In Re:                                          : Bankruptcy No. 18-16779-ELF
  Craig R. Fulton                                 : Chapter 13
                        Debtor                    :
                                                  :
  First Guaranty Mortgage Corporation c/o         :
  Rushmore Loan Management Services, LLC          :
                       Movant                     :
                 vs.                              :
                                                  :
  Craig R. Fulton and Erneyka Fulton (Non-        :
  filing Co-Debtor)                               :
                        Debtor/Respondent         :
                                                  :
                and                               :
                                                  :
  William C. Miller, Esquire                      :
                        Trustee/Respondent        :


   MOTION FOR RELIEF FROM AUTOMATIC STAY AND CO-DEBTOR STAY
                   UNDER 11 U.S.C. § 362 AND §1301


         Movant, by its Attorneys, Hladik, Onorato & Federman, LLP, hereby requests a
  Termination of the Automatic Stay and leave to proceed with its State Court rights
  provided under the terms of the Mortgage.

        1.    Movant is First Guaranty Mortgage Corporation c/o Rushmore Loan
  Management Services, LLC (“Movant”).

         2.      Debtor, Craig R. Fulton (“Debtor”) and Erneyka Fulton (Non-filing Co-
  Debtor) are the owners of the premises located at 168 Sparks Street, Phildelphia, PA
  19120 (the “Property”).

         3.     William C. Miller, Esquire is the Trustee appointed by the Court.

        4.     Debtor filed a Petition for Relief under Chapter 13 of the Bankruptcy
  Code on October 11, 2018.

          5.     Movant is the holder of a mortgage lien on the Property in the original
  principal amount of $71,677.00, which was recorded on July 8, 2014 (the “Mortgage”). A
  true and correct copy of the Mortgage is attached hereto as Exhibit “A.”
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         6.      The Mortgage was assigned to Movant by way of a written assignment of
  mortgage which was recorded on June 8, 2018. A true and correct copy of the assignment
  of mortgage is attached hereto as Exhibit “B.”

          7.    Movant has not received the monthly post-petition Mortgage payments
  from June 01, 2020 in the amount of $655.32 each; plus payments from July 01, 2020
  through September 01, 2020 in the amount of $663.52, as well as attorney fees and costs
  in the amount of $1,031.00, for a total post-petition arrearage of $3,676.88.

         8.    Movant has cause to have the Automatic Stay terminated, in order to
  permit Movant to complete foreclosure on its Mortgage.

  WHEREFORE, Movant respectfully requests that this Court enter an Order:

         a.      Modifying the Automatic Stay and Co-Debtor Stay under 11 U.S.C. § 362
         and §1301 of the Bankruptcy Code with respect to the Property as to permit
         Movant to foreclose on its Mortgage and allow Movant or any other purchaser at
         Sheriff’s Sale to take legal or consensual action for enforcement of its right to
         possession of, or title to; and

         b.     Granting any other relief that this Court deems equitable and just.


                                                  Respectfully Submitted,

  Date: 09/10/2020                                /s / Bradley J. Osborne, Esquire
                                                  Bradley J. Osborne, Esquire
                                                  Hladik, Onorato & Federman, LLP
                                                  Attorney I.D. # 312169
                                                  298 Wissahickon Avenue
                                                  North Wales, PA 19454
                                                  Phone 215-855-9521
                                                  Email: bosborne@hoflawgroup.com
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  In Re:                                           : Bankruptcy No. 18-16779-ELF
  Craig R. Fulton                                  : Chapter 13
                         Debtor                    :
                                                   :
  First Guaranty Mortgage Corporation c/o          :
  Rushmore Loan Management Services, LLC           :
                       Movant                      :
                 vs.                               :
                                                   :
  Craig R. Fulton and Erneyka Fulton (Non-         :
  filing Co-Debtor)                                :
                        Debtor/Respondent          :
                                                   :
                 and                               :
                                                   :
  William C. Miller, Esquire                       :
                        Trustee/Respondent         :


                                          ORDER

         AND NOW, this ____ day of ___________________, 2020, upon the Motion of
  Movant, First Guaranty Mortgage Corporation c/o Rushmore Loan Management
  Services, LLC, it is hereby:

          ORDERED THAT: the Motion is granted, and the Automatic Stay and Co-Debtor
  Stay of all proceedings, as provided under 11 U.S.C. § 362 and § 1301 of the Bankruptcy
  Code is modified and lifted with respect to the premises, 168 Sparks Street, Philadelphia,
  PA 19120.


                                          ____________________________________
                                              Honorable Eric L. Frank
                                              United States Bankruptcy Judge
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               IN THE UNITED STATES BANKRUPTCY COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In Re:                                          : Bankruptcy No. 18-16779-ELF
Craig R. Fulton                                 : Chapter 13
                      Debtor                    :
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First Guaranty Mortgage Corporation c/o         :
Rushmore Loan Management Services, LLC          :
                     Movant                     :
               vs.                              :
                                                :
Craig R. Fulton and Erneyka Fulton (Non-        :
filing Co-Debtor)                               :
                      Debtor/Respondent         :
                                                :
              and                               :
                                                :
William C. Miller, Esquire                      :
                      Trustee/Respondent        :

                     CERTIFICATION OF SERVICE OF MOTION,
                     RESPONSE DEADLINE AND HEARING DATE

            I, Bradley J. Osborne, Esq., attorney for Movant, First Guaranty Mortgage
Corporation c/o Rushmore Loan Management Services, LLC, hereby certify that I served a true
and correct copy of the Motion for Relief from Automatic Stay and Notice of Motion, Response
Deadline and Hearing Date, by United States Mail, first class, postage prepaid, or Electronic
Mail on 09/10/2020 upon the following:

 Brad J. Sadek, Esquire                    Craig R. Fulton
 Via ECF                                   Erneyka Fulton
 Attorney for Debtor                       168 Sparks Street
                                           Philadelphia, PA 19120
 William C. Miller, Esquire                Via First Class Mail
 Via ECF                                   Debtor and Non-Filing Co-Debtor
 Trustee


Date: 09/10/2020                                /s / Bradley J. Osborne, Esquire
                                                Bradley J. Osborne, Esquire
                                                Hladik, Onorato & Federman, LLP
                                                Attorney I.D. # 312169
                                                298 Wissahickon Avenue
                                                North Wales, PA 19454
                                                Phone 215-855-9521
                                                Email: bosborne@hoflawgroup.com
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               IN THE UNITED STATES BANKRUPTCY COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In Re:                                            : Bankruptcy No. 18-16779-ELF
Craig R. Fulton                                   : Chapter 13
                       Debtor                     :
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First Guaranty Mortgage Corporation c/o           :
Rushmore Loan Management Services, LLC            :
                     Movant                       :
               vs.                                :
                                                  :
Craig R. Fulton and Erneyka Fulton (Non-          :
filing Co-Debtor)                                 :
                      Debtor/Respondent           :
                                                  :
               and                                :
                                                  :
William C. Miller, Esquire                        :
                      Trustee/Respondent          :

                      AMENDED NOTICE OF MOTION, RESPONSE
                          DEADLINE AND HEARING DATE

        First Guaranty Mortgage Corporation c/o Rushmore Loan Management Services, LLC
has filed with the US Bankruptcy Court a Motion for Relief from Stay regarding its rights it has
under the mortgage or with respect to the property located at: 168 Sparks Street, Philadelphia,
PA 19120.

       Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult with an attorney.)

       1.      If you do not want the Court to grant the relief sought in the motion or if you want
the court to consider your views on the motion, then on or before 09/24/2020 you or your
attorney must do all of the following things:


           (a) FILE AN ANSWER explaining your position at:

                                 United States Bankruptcy Court
                                   Robert N.C. Nix Building
                                  900 Market Street, Suite 400
                                  Philadelphia, PA 19107-4299

If you mail your answer to the Bankruptcy Court Clerk’s Office for filing, you must mail is early
enough so that it will be received on or before the date stated above; and
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           (b) MAIL A COPY of the documents to the Movant’s attorney:

                                    Bradley J. Osborne, Esq.
                               Hladik, Onorato & Federman, LLP
                                   298 Wissahickon Avenue
                                    North Wales, PA 19454
                                     Phone 215-855-9521
                                     Fax 215-855-9121
                              Email: bosborne@hoflawgroup.com

       2.     If you or your attorney do not take these steps described in paragraphs 1(a) and
1(b) above and attend the hearing, the court may enter an order granting the relief requested in
the motion.

       3.     A HEARING ON THE MOTION is scheduled to be held before the Hon. Eric
AL. Frank on 10/06/2020 at 09:30 AM in Courtroom No. #1 United States Bankruptcy Court,
Robert N.C. Nix Federal Building, 900 Market Street, 2nd Floor, Philadelphia, PA 19107.

        4.     If a copy of the Motion is not enclosed, a copy of the motion will be provided to
you if you request a copy from the attorney named in paragraph 1(b).

       5.     You may contact the Bankruptcy Court Clerk’s office at (215) 408-2800 to find
out whether the hearing has been canceled because no one filed an answer.
